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                          UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF TENNESSEE
                                WESTERN DIVISION



BRIAN ALLEN,

              Plaintiff,

v.                                                            Civil No. 17-2577-SHM

RICHARD JAMES SIMMONS, JR.,
JHT HOLDING, INC., and/or
UNIMARK TRUCK TRANSPORT, LLC,

              Defendants.


                                            JUDGMENT
     Decision by Court. This action came for consideration before
the Court. The issues have been duly considered and a decision has
been rendered.

     IT IS ORDERED AND ADJUDGED that, in accordance with the Order
docketed August 16, 2017, this matter is remanded to the Circuit
Court of Tennessee for the Thirtieth Judicial District at Memphis,
Shelby County.


APPROVED:


 s/ Samuel H. Mays, Jr.
SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE


    August 16, 2017                                      THOMAS M. GOULD
DATE                                                    CLERK
                                                         s/ Zandra Frazier
                                                        (By) DEPUTY CLERK
